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    BUCHER GLASS, INC.


                      IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
                                FOURTH JUDICIAL DISTRICT AT FAIRBANKS

    BUCHER GLASS, INC., an Alaska                       Case No.: '/FA -Jb -Q /7 08 CJ:.
    corporation,

                                           Plaintiff,

             v.

    DOW CORNING CORPORATION, a
    Michigan corporation, and GARIBALDI
    GLASS INDUSTRIES INC., a Canadian
    corporation,

                                         Defendants.


                                             COMPLAINT

             BUCHER GLASS, INC. ("Bucher"), for its Complaint against DOW CORNING

    CORPORATION (''Dow Coming") and GARIBALDI GLASS INDUSTRIES INC.

    ("Garibaldi"), states as follows :




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                                                   PARTIES

               1.        Plaintiff Bucher Glass is an Alaska corporation that has its principal place

    of business in Fairbanks, Alaska. It sells and installs commercial windows and curtain

    wall systems.

              2.         Defendant Dow Corning is a Michigan corporation that has its principal

    place of business in Midland, Michigan. One aspect of its business is designing,

    developing, manufacturing, marketing, and selling products for use in curtain wall

    systems.

              3.        Defendant Garibaldi is a Canadian corporation that has its principal place of

    business in Burnaby, British Columbia. One aspect of its business is the fabrication of

    insulated glass panels for curtain wall systems.

                                       JURISDICTION AND VENUE

              4.        The Court has jurisdiction under Alaska's long-arm statute, AS 09.05.015.

              5.        Venue is proper under Civil Rule 3(c).

                                        FACTUAL ALLEGATIONS

              6.        In 2013, Bucher was selected as a subcontractor for two new commercial

    buildings, the UAF Engineering Facility in Fairbanks, Alaska, and the CIRJ building in

    Anchorage, Alaska.

              7.        The plans for both buildings called for the installation of curtain wall

    systems. A curtain wall system is a non-load bearing exterior wall of a building. For

    multiple story commercial buildings, curtain wall systems typically are expected to meet




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    design requirements for thennal efficiency (for cost-effective heating, cooling, and

    lighting), thennal expansion and contraction, building movement, and visual appearance.

              8.        The plan specifications for the UAF and CIRI buildings had thermal

    efficiency and appearance requirements for the curtain wall systems.

              9.        Dow Corning knew of the thermal specifications set by the design criteria

    for both buildings. It represented that the vacuum insulation panels ("VIPs") used in its

    architectural insulation modules ("AIMs") could meet those criteria.

              10.       Bucher Glass placed its order after having had an independent laboratory

    perform a Thermodel simulation on the proposed Bucher Glass curtain wall system. For

    the simulation testing, the lab used data from testing of Dow Coming's AIMs that had

    VIPs incorporated into them. The test results caused Bucher Glass to question Dow

    Corning' s thennal representations. Dow Coming responded to Bucher Glass' s inquiries

    by stating that, in Dow Coming' s view, it was "not appropriate" to apply the test results

    to Bucher Glass' s thermal modeling for its projects, and that Bucher Glass instead should

    "revert back" to the thermal values provided by Dow Corning in the product data sheet

    for VIPs.

              11 .      In reliance on Dow Coming' s response to its inquiry about thermal values,

    Bucher Glass ordered the VIPs for the curtain wall systems for UAF from Dow Corning,

    and the AIMs for the CIRI building from Dow Corning and Garibaldi.

              12.       Bucher Glass had no knowledge of the fact that at the time Dow Corning

    was telling Bucher Glass to rely on the data sheet numbers, Dow Corning had reports in




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    its possession that indicated the VIPs' thermal values were not as represented. Dow

    Corning did not disclose this information to Bucher Glass.

             13.      There were widespread thermal failures in the VIPs installed in the UAF

    and CIRI buildings. The vacuum seals failed in many of the panels. Testing revealed

    that the thermal performance in the intact VIPs was significantly worse than Dow

    Coming had represented to Bucher Glass.

             14.      Bucher Glass gave timely notice of the thermal problems, inviting Dow

   Coming to inspect the VIPs and propose a fix. Bucher Glass also gave Dow Corning

   notice that it would be looking to Dow Corning for damages in light of the substantial

    expenses it was incurring to develop and provide a fix acceptable to the general

    contractors and owners of both buildings.

             15.      Despite the notice provided by Bucher Glass, Dow Corning provided no

    assistance in developing or implementing a cure for the defective VIPs in the UAF and

    CIRI buildings. Bucher Glass expects to incur millions of dollars in losses trying to

   remedy the problems caused by Dow Corning' s defective products.

             16.      To enable a visual assessment prior to ordering the product, Dow Coming

   and Garibaldi provided a sample AIM for Bucher Glass and the building design teams to

    examine. Garibaldi was fabricating the components of the AIMs in accordance with Dow

    Corning' s instructions.

             17.      In reliance on the sample provided by Dow Corning and Garibaldi, as well

    as Dow Corning's response to Bucher Glass' inquiry about the VIPs' thermal values,

   Bucher Glass ordered the AIMs for the CIRI curtain wall system.

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              18.       Upon receipt of the first shipment of CIRl AIMS units from Garibaldi,

    Bucher Glass discovered visual defects in the panels. When Bucher Glass notified Dow

    Corning and Garibaldi of the problem, Dow Corning and Garibaldi placed a hold on the

    manufacture of the VIPs that were still to be provided. It was not until eight weeks later

    that the AIMs were put back into production. The delay in manufacturing led to delays in

    delivery, which caused significant economic hann to Bucher Glass. Further, when the

    unitized panels were installed, the project owner was dissatisfied with the visual

    appearance because it did not confonn to the sample AIM.

              19.       Bucher Glass gave timely notice of the visual problems, inviting Dow

    Coming and Garibaldi to inspect the AIMs and propose a fix. Bucher Glass also gave

    Dow Coming and Garibaldi notice that it would be looking to them for damages in light

    of the substantial expenses it was incurring to develop and provide a fix acceptable to the

    general contractors and owners of both buildings.

              20.       Despite the notice provided by Bucher Glass, Dow Coming and Garibaldi

   provided no assistance in developing or implementing a cure for the defective AIMs in

    the CIRl building. Further, Garibaldi refused to release the final shipment of AIMS

    without pre-payment, in breach of the agree upon terms and conditions. Bucher Glass

   proceeded to install interior veneer glass panels to correct the problem, and incurred

   millions of dollars in losses to remedy the problems caused by Dow Coming' s and

    Garibaldi's defective products.

              21.       Bucher Glass's business has been damaged by Dow Corning's and

    Garibaldi's conduct. Its reputation has been harmed and its financial position severely

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    weakened. It has lost business (existing and anticipated) because of the issues associated

    with the UAF and CIRI buildings.

                                           CAUSES OF ACTION

                                            First Cause of Action

                                      ( Breach of Express Warranties)

              22.       Bucher Glass hereby incorporates and re-alleges the allegations set forth in

    paragraphs I through 21 above.

              23.       Dow Coming and Garibaldi are both merchants that deal in products for

    commercial construction projects, including components for curtain wall systems.

              24.       Dow Coming affirmed to Bucher Glass that the Dow Coming VIPs would

    meet the design criteria for the UAF and CIRI buildings.

              25.       Dow Coming provided to Bucher Glass written descriptions of the

    characteristics of its VIPs, and represented to Bucher Glass that the VIPs it ordered

    would conform to those descriptions.

              26.       When ordering the VIPs from Dow Coming for the UAF building, and the

    AIMs for the CIRI buildings from Dow Coming and Garibaldi, Bucher Glass relied on

    Dow Coming's written descriptions of the VIPs, and Dow Corning's affirmation that the

    VIPs would meet the design criteria for the UAF building. Dow Coming's express

    representations were part of the basis for the parties' bargain.

              27.       The VIPs for the UAF and CIRI buildings did not perform as warranted.

    The thermal failures were widespread.




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              28.       For the CIRI building, Dow Coming and Garibaldi provided a sample AIM

    to Bucher Glass to confirm the module's visual properties. Bucher Glass relied on the

    sample when it ordered the AIMs for the CIRI building. The visual qualities of the

    sample were part of the basis for the parties' bargain.

              29.       The AIMs for the CIRI building did not perfonn as warranted. The visual

    properties were not as had been represented or as had been evident from the sample.

              30.       As a direct and proximate result of Dow Corning's and Garibaldi's

    breaches of their express warranties, Bucher Glass has suffered incidental and

    consequential damages in an amount to be determined at trial, but in excess of $100,000.

                                             Second Cause of Action

                                 (Breach of Implied Warranty of Merchantability)

              31.       Bucher Glass hereby incorporates and re-alleges the allegations set forth in

    paragraphs 1 through 30 above.

              32.       A warranty of merchantability was implied in the contract between Bucher

    Glass and Dow Coming.

              33.       A warranty of merchantability was implied in the contract between Bucher

    Glass and Garibaldi.

              34.       Because of the visual appearance problems and the widespread thermal

    failures, the VIPs and AIMs were not fit for the ordinary purpose for which such goods

    are used, nor were they of even quality within each unit and among all the units

    involved.




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              35 .      The defects in the VIPs and AIMs constituted breaches of the implied

    warranty of merchantability.

              36.       As a result of Dow Corning's and Garibaldi's breaches of the implied

    warranty of merchantability, Bucher Glass has suffered incidental and consequential

    damages in an amount to be proved at trial, but in excess of $100,000.

                                           Third Cause of Action

                     {Breach of Implied Warranty of Fitness for a Particular Purpose

             37.        Bucher Glass hereby incorporates and re-alleges the allegations set forth in

    paragraphs 1 through 36 above.

             38.        A warranty of fitness for a particular purpose was implied in the contract

    between Bucher Glass and Dow Coming.

             39.        A warranty of fitness for a particular purpose was implied in the contract

    between Bucher Glass and Garibaldi.

             40.        At the time Dow Coming and Bucher Glass entered into their contract,

    Dow Coming knew that the VIPs would be used in the curtain wall systems for the UAF

    and CIRl buildings. Dow Coming also knew or had reason to know that Bucher Glass

    was relying on Dow Coming' s skill or judgment to furnish products suitable for use in

    those curtain wall systems.

              41.       The VIPs furnished by Dow Coming were not suitable for use in the curtain

    wall systems as they did not meet the design criteria for the buildings.

              42.       The defects constituted breaches of the implied warranty of fitness for a

    particular purpose.

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              43.       At the time Garibaldi and Bucher Glass entered into their contract,

    Garibaldi and Dow Corning knew that the AIMs would be used in the curtain wall system

    for the CIRI building. Garibaldi and Dow Coming also knew or had reason to know that

    Bucher Glass was relying on their skill or judgment to furnish products suitable for use in

    that curtain wall system.

              44.       Certain AIMs furnished by Garibaldi and Dow Coming were not suitable

    for use in the CIRI curtain wall system as they did not conform to the sample AIM for

    that building.

              45 .     The defects constituted breaches of the implied warranty of fitness for a

    particular purpose.

             46.       As a result of Dow Coming's and Garibaldi's breaches of the implied

    warranty of fitness for a particular purpose, Bucher G~ass has suffered incidental and

    consequential damages in an amount to be proved at trial, but in excess of $100,000.

                                          Fourth Cause of Action

        (Violation of the Alaska Unfair Trade Practices and Consumer Protection Act)

             47.       Bucher Glass hereby incorporates and re-alleges the allegations set forth in

    paragraphs 1 through 48 above.

             48.       By misrepresenting the characteristics of the VIPs, misrepresenting the

    particular thermal qualities of the VIPs, and knowingly concealing the existence of test

    results that contradicted or undermined the representations Dow Corning had made as to

    the thermal performance of its VIPs, Dow Corning committed unfair methods of

    competition, or unfair or deceptive acts or practices, or both, in violation of the Alaska

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        Unfair Trade Practices and Consumer Protection /\cl (''UTPA.. ), AS 45.50.47 J(a), (b)(4),

        (b)(6), and (b)( 12).

                 49.       13y misrepre:-enting the characteristics of the A]i\1s, and misrepresenting the

        partkufar standard, quality, grade or style of the AI.l'v1s, Dovv Corning and Garibaldi

        committed un foir methods of competition, or unfair or deceptive acts or practices, or

        both. in violmion of the Alaska Unfair Trade Practices and Consumer Protection Act

        ("UTPA")~ J\S 45.50.471 (a), (b)(4), and (b)(6).

                 50.       As a result ofDovv Corning's and Garibaldi 's violations of the UTPA,

        Bucher Glass has suffered a substantial loss of money, in an amount to he proved at trial.

                                             PRAYER FORRELIEJ?

                   Bucher Glass requests entry of a judgment providing the following relief:

                 (/\)      Incidental, consequential, and other compensatory damages in accordance

        with proof at trial;

                 (B)       Treble damages under the UTP /\~

                 (C)       Attorneys' fees and other costs of suit incurred herein; and

                 (D)       Such other relief as the Court determines is just, reasonable, and equitable

        under the circumstances.

        DATED: June 24. 2016                                STOEL RIVES LLP

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                                                                       LA   E TUCKER
                                                                (B.t\R NO. 0705011)
                                                                Attorneys for Plain ti ff
                                                                BUCHER GLASS, INC.


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